                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE



  STEPHEN EIMERS, as Personal                           Case No.   1 :1   9-cv-00044-TRM-SKL
  Representative of the Estate of HANNAH
  EIMERS, deceased,
                                                        JURY DEMANDED

                       Plaintiff,

  V


  VALMONT INDUSTRIES, lNC., a foreign
  corporation; VALMONT HIGHWAY, a foreign
  corporation ; ARMORFLEX I NTERNATIONAL
  LIMITED, a foreign corporation; LINDSAY
  CORPORATION, a foreign corporation;
  LI NDSAY TRANSPORTATION SOLUTIONS
  SALES & SERVICE LLC, a foreign company;
  LI NDSAY TRANSPORTATION SOLUTIONS,
  lNC., f/k/a BARRIER SYSTEMS, lNC., a foreign
  corporation; and REYNOLDS FENCE &
  GUARDRAIL, lNC., a foreign corporation,

                     Defendants



                                FIRST AMENDED COMPLAINT

         Plaintiff, STEPHEN EIMERS,        as Personal Representative of the Estate of
  HANNAH EIMERS, deceased, now appears, by and through counsel, in this case,

  which arises out of the injuries and wrongful death suffered by HANNAH EIMERS in a



  wrongful and negligent conduct by and/or attributable to the Defendants herein; for

  cause of action against these Defendants, Plaintiff states the following contentions:




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                             PARTIES. JURISDICTION, AND VENUE

         1.     Plaintiff STEPHEN EIMERS is         a   citizen and resident of Lenoir City,

  Loudon County, Tennessee, residing         at 590 Old Greenback Road, Lenoir City,
  Tennessee 37772.

         2.     Hannah Eimers, deceased, was the natural daughter of Stephen Eimers

  and Melissa Eimers. Hannah was born on September 11, 1999 and died on November

  1,2016.

         3.     STEPHEN EIMERS, as the surviving parent of Hannah Eimers, deceased,

  is duly   appointed   as the Personal Representative of her Estate. (Letter of
  Administration is attached hereto as "Exhibit A.")

         4.     The potential beneficiaries of the Estate of Hannah Eimers in this wrongful

  death action and the relationship of each to the decedent are as follows:

         a.     Stephen Eimers, surviving parent;

         b.     Melissa Eimers, surviving parent; and

         c.     The Estate of Hannah Eimers.

         5.     Defendant VALMONT INDUSTRIES, lNC., organized                    in the State of
  Nebraska, which at all relevant times was doing business in the jurisdiction of this

  Honorable Court. Valmont lndustries is a foreign for-profit corporation organized and

  existing under the laws of Nebraska with its principal place of business at One Valmont

  Plaza, Omaha, Nebraska 68154-5215. Valmont lndustries is subject to personal
  jurisdiction in the state of Tennessee because        it is engaged in substantial and       not

  isolated activity within the state of Tennessee; and Plaintiff's action arises from Valmont
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  lndustries transacting business in Tennessee or contracting to supply services or things

  in Tennessee; or committing a tortious act within Tennessee; or causing injury to
  persons or property within Tennessee arising out of an act or omission by Valmont

  lndustries while, at or about the time of the injury, Valmont lndustries was engaged in

  solicitation   or service activities within Tennessee, or products, materials, or things
  processed, serviced, or manufactured by Valmont lndustries were used or consumed

  within Tennessee in the ordinary course of commerce, trade, or use, for which Valmont

  lndustries derived substantial revenue. (T. C. A.520-2-223)

         6.       ln 2013,   Defendant Valmont lndustries acquired Defendant Armorflex

  lnternational Limited and its products, including the X-LITE guardrail end terminals

  involved in the accident at issue in this lawsuit. This acquisition amounted to a merger

  or de facto merger wherein liability for defects associated with the Subject Guardrail

  system was assumed by Valmont.

         7.       Valmont lndustries designs, develops, manufactures, tests, markets,

  promotes, advertises, distributes, sells, and/or participates in governmental approval

  processes      of guardrail systems installed in Tennessee and throughout the              United

  States, including the Subject Guardrail and end terminal. Valmont lndustries uses the

  registered trademark name .X-L|TE"          to   identify its unique and patented highway

  guardrail end terminals. The X-LITE can be used at the termination of flexible barriers

  on the shoulder of a roadway or in the median.

         8.       Defendant VALMONT HIGHWAY, a subsidiary of Valmont lndustries, lnc.,

  is a foreign for-profit corporation organized and existing under the laws of Australia with
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  its principal place of business at 57-65 Airds Road, Minto NSW 2566 Australia. Valmont

  Highway is subject to personal jurisdiction in the state of Tennessee because               it   is

  engaged in substantial and not isolated activity within the state of Tennessee; and

  Plaintiff's action arises from Valmont Highway transacting business in Tennessee or

  contracting to supply services or things in Tennessee; or committing a tortious act within

  Tennessee; or causing injury to persons or,property within Tennessee arising out of an

  act or omission by Valmont Highway while, at or about the time of the injury, Valmont

  Highway was engaged in solicitation or service activities with in Tennessee, or products,

  materials, or things processed, serviced, or manufactured by Valmont Highway were

  used or consumed within Tennessee in the ordinary course of commerce, trade, or use,

  for which Valmont Highway derived substantial revenue. (T. C. A. S 20-2-223)

         9.     Valmont Highway, designs, develops, manufactures, tests, markets,

  promotes, advertises, distributes, sells, and/or participates in governmental approval

  processes    of guardrail systems installed in Tennessee and throughout the              United

  States, including the Subject Guardrail and end terminal. Valmont Highway uses the

  registered trademark name "X-L|TE"        to   identify its unique and patented highway

  guardrail end terminals. The X-LITE can be used at the termination of flexible barriers

  on the shoulder of a roadway or in the median.

         10.    Defendant ARMORFLEX INTERNATIONAL LIMITED ("hereinafter
  Armorflex"), a subsidiary of Valmont lndustries, lnc., is a foreign for-profit corporation

  organized and existing under the laws       of New Zealand with its principal place of
  business    at 8 Paul Matthew Road, Auckland 0632, New Zealand. Armorflex was
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  acquired by Valmont lndustries lnc.,       in 2013.     Armorflex   is subject to     personal

  jurisdiction in the state of Tennessee because       it is engaged in substantial and not
  isolated activity .within the state of Tennessee; and Plaintiff's action arises from

  Armorflex transacting business in Tennessee or contracting to supply services or things

  in Tennessee; or committing a tortious act within Tennessee; or causing injury to
  persons or property within Tennessee arising out of an act or omission by Armorflex

  while, at or about the time of the injury, Armorflex was engaged in solicitation or service

  activities with in Tennessee, or products, materials, or things processed, serviced, or

  manufactured by Armorflex were used or consumed within Tennessee in the ordinary

  course of commerce, trade, or use, for which Armorflex derived substantial revenue.

  (r. c. A. s 20-2-223)
         11.   Armorflex designs, develops, manufactures, tests, markets, promotes,

  advertises, distributes, sells, and participates in governmental approval processes of

  guardrail systems installed in Tennessee and throughout the United States, including

  the Subject Guardrail and end terminal. Armorflex uses the registered trademark name

  "X-L|TE" to identify its unique and patented highway guardrail end terminals. The X-

  LITE can be used at the termination of flexible barriers on the shoulder of a roadway or

  in the median. Armorflex holds the patent on the X-LITE.

         12.    Defendant LINDSAY CORPORATION (hereinafter "Lindsay Corp") is                    a

  foreign corporation, organized in the State of Delaware, which at all relevant times was

  doing business in the jurisdiction of this Honorable Court. Lindsay Corp's principal

  place of business is located at 222 North 111th Street, Omaha, Nebraska 68164.
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  Lindsay Corp is subject to personal jurisdiction in the state of Tennessee because it is

  engaged in substantial and not isolated activity within the state of Tennessee; and

  Plaintiff's action arises from Lindsay Corp transacting business           in Tennessee       or

  contracting to supply services or things in Tennessee; committing a tortious act within

  Tennessee; or causing injury to persons or property within Tennessee arising out of an

  act or omission by Lindsay Corp while, at or about the time of the injury, Lindsay Corp

  was engaged in solicitation or service activities within Tennessee, or               products,

  materials, or things processed, serviced, or manufactured by Lindsay Corp were used

  or consumed within Tennessee in the ordinary course of commerce, trade, or use, for

  which Lindsey Corp derived substantial revenue. (T. C. A. S 20-2-223)

          13.   Lindsay Corp designs, develops, manufactures, tests, markets, promotes,

  advertises, distributes, sells, and participates in governmental approval processes of

  guardrail systems installed in Tennessee and throughout the United States, including

  the Subject Guardrail and end terminal. Lindsay Corp. uses the registered trademark

  name "X-L|TE" to identify its unique and patented highway guardrail end terminals. The

  X-LITE can be used at the termination of flexible barriers on the shoulder of a roadway

  or in the median, Lindsay Corp, holds the license and the trademark to the patented X-

  LITE.

          14.   Defendant LINDSAY TRANSPORTATION SOLUTIONS SALES                                 &

  SERVICE, lNC. (hereinafter "Lindsay TSSS") is a foreign corporation, organized in the

  State of California, and is a directly and/or indirectly wholly owned subsidiary and/or

  operational unit or division   of Lindsay Corp, which at all relevant times was doing
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  business in the jurisdiction of this Honorable Court. Lindsay TSSS's principal place of

  business is located at 180 River Road, Rio Vista, California 94571. Lindsay TSSS is

  subject to personal jurisdiction in the state of Tennessee because             it is engaged in
  substantial and not isolated activity within the state of Tennessee; and Plaintiff's action

  arises from Lindsay TSSS transacting business in Tennessee or contracting to supply

  services or things in Tennessee; or committing a tortious act within Tennessee; or

  causing injury to persons or property within Tennessee arising out of an act or omission

  by Lindsay TSSS while, at or about the time of the injury, Lindsay TSSS was engaged

  in solicitation or service activities with in Tennessee, or products, materials, or things

  processed, serviced, or manufactured by Lindsay TSSS were used or consumed within

  Tennessee in the ordinary course of commerce, trade, or use, for which Lindsey Corp

  derived substantial revenue. (T. C.A. S 20-2-223).

         '15.   Lindsay TSSS designs, develops, manufactures, tests,                    markets,

  promotes, advertises, distributes, sells, and participates       in governmental      approval

  processes   of guardrail systems installed in Tennessee and throughout the United
  States, including the Subject Guardrail and end       terminal.    Lindsay TSSS uses the

  registered trademark name "X-L|TE"        to   identify its unique and patented highway

  guardr:ail end terminals. The X-LITE can be used at the termination of flexible barriers

  on the shoulder of a roadway or in the median.

         16.    Defendant LINDSAY TRANSPORTATION SOLUTIONS, lNC., flkla

  BARRIER SYSTEMS, lNC. (hereinafter "Lindsay TS/Barrier Systems")                   is a   foreign

  corporation, organized in the State of California, and is a directly and/or wholly owned
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  subsidiary and/or operational unit or division of Lindsay Corp or Lindsay TSSS, which at

  all relevant times was doing business in the jurisdiction of this Honorable                Court.

  Lindsay TS/Barrier Systems'principal place of business is located at 180 River Road,

  Rio Vista, California 94571. Lindsay TS/Barrier Systems is subject to personal
  jurisdiction in the state of Tennessee because       it is engaged in substantial and not
  isolated activity within the state of Tennessee; and Plaintiff's action arises from Lindsay

  TS/Barrier Systems transacting business in Tennessee or contracting to supply services

  or things in Tennessee; or committing a tortious act within Tennessee; or causing injury

  to persons or property within Tennessee arising out of an act or omission by Lindsay

  TS/Barrier Systems while, at or about the time of the injury, Lindsay TS/Barrier Systems

  was engaged in solicitation or service activities with in Tennessee, or                 products,

  materials,   or things processed, serviced, or manufactured by Lindsay TS/Barrier
  Systems were used       or consumed within       Tennessee     in the ordinary course of
  commerce, trade,    or use, for which Lindsay TS/Barrier Systems derived              substantial

  revenue. (T C A. S 20-2-223).

         17.     Lindsay TS/Barrier Systems designs, develops, manufactures, tests,

  markets, promotes, advertises, distributes, sells, and participates            in   governmental

  approval processes of guardrail terminals in Tennessee and throughout the United

  States, including the Subject Guardrail and end terminal. The X-LITE can be used at

  the termination of flexibte barriers on the shoulder of a roadway or in the median.

         18.    Defendant REYNOLDS FENCE               &   GUARDRAIL, lNC. [hereinafter

  "Reynolds"] is a foreign corporation, organized in the State of North Carolina, which at
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  all relevant times was doing business in the jurisdiction of this Honorable               Court.

  Reynolds' principal place of business is located at 9320 Machado Drive, lndian Trail,

  North Carolina, 28079-7718. Reynolds is subject to personal jurisdiction in the state of

  Tennessee because it is engaged in substantial and not isolated activity within the state

  of Tennessee; and Plaintiff's action arises from Reynolds transacting business                  in

  Tennessee or contracting to supply services or things in Tennessee; or committing q

  tortious act within Tennessee; or causing injury to persons or property within Tennessee

  arising out of an act or omission by Reynolds while, at or about the time of the injury,

  Reynolds was engaged        in solicitation or service activities with in Tennessee,           or

  products, materials, or things processed, serviced, or manufactured by Reynolds were

  used or consumed within Tennessee in the ordinary course of commerce, trade, or use,

  for which Reynolds derived substantial revenue. (T.      C A. S 20-2-223).
         19.      Reynolds maintains, inspects, monitors, reports          ofl, and/or installs
  guardrail terminals and end terminals in Tennessee, including the Subject Guardrail and

  end terminal.

         20.      VALMONT INDUSTRIES, lNC.; VALMONT HIGHWAY; ARMORFLEX

  INTERNATIONAL             LIMITED; LINDSAY CORPORATION; LINDSAY
  TRANSPORTATION SOLUTIONS SALES                      &   SERVICE, LLC;           and   LINDSAY

  TS/BARRIER SYSTEMS            are referred to as collectively "Lindsay" or             "Lindsay

  Defendants."




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         21.    Jurisdiction and venue are proper          in this Honorable Court because
  McMinn County is the county in which the subject accident giving rise to this Complaint

  took place.

                           ALLEGATIONS CO               N TO ALL COUNTS

         22.    On or about November 1,2016, on lnterstate 75 near mile marker 55.90 in

  McMinn County, Tennessee, Hannah Eimers was the seat belted driver of 2000 Volvo

  S80, Vehicle ldentification Number ("VlN') WlTS94D6Y1 141986, Tennessee License

  Number S6009N.

         23.    At that time and place, the 2000 Volvo was traveling northbound on l-75,

  within the speed limit, when it left the roadway off the left shoulder and immediately

  thereafter, the Volvo collided with the X-LITE guardrail end terminal ("Subject

  Guardrail") that bordered l-75.

         24.    During the collision, the X-LITE end terminal and rail system failed to

   perform its intended safety function and purpose due to a defect(s) with its design,

   manufacturing, and/or warnings. Specifically, the X-LITE guardrail failed to properly

   perform/telescope upon    impact. As a result, when the X-LITE end terminal                was

   impacted by the Volvo, it was not able to maintain its integrity and stop the W-beams,

  thus allowing the W-beams to pierce through the Volvo's exterior and frame, and enter

   its driver's side occupant compartment and puncture all the way through into the rear

   passenger side door.

         25.    During the collision, the W-beams penetrated the occupant compartment

   of the vehicle where Hannah Eimers was sitting, and violently struck her, causing her to
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  suffer immediate, horrible, and agonizing pain, severe damage to her internal organs,

  internal bleeding, hemorrhaging, multiple fractures, and ultimately death.

            26.   Hannah was properly licensed, well rested, very familiar with her vehicle,

  not under the influence of any alcohol or drugs, was not exceeding the speed limit, and

  was not talking or texting on her phone at the time of the accident.

            27.   ln the alternative, the X-LITE guardrail failed to perform as intended during

  the collision because it was improperly installed by Reynolds due to the                 Lindsay

  Defendants'failure to provide adequate installation and/or maintenance instructions.

            28. A properly functioning guardrail should not make an accident more
  dangerous for an occupant. However, in many impacts involving an X-Lite, the victim

  killed or maimed by the guardrail should and would have survived the accident, as

  demonstrated by the fact that in nearly every instance where there was another occupant

  in the vehicle, the occupant walked away essentially unscathed.

            29.   The X-Lite's defects can be traced back to its deficient development and

  testing process.

            30.   Evidence has established that Lindsay was using an unfinished prototype
                                                                                .R&D
  design in its federal NCHRP 350 certification process, which was still in the

   hase."

            31.   Evidence has established that the X-Lite was continuously changing and

  "evolving" in all but one of the 14 certification test runs, meaning thatthe exact same X-

  Lite was never subjected to more than one test run, and which further means that the

  exact X-Lite design involved in each of these accidents has never been put through the
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 full certification testing. Evidence has established that Lindsay was clearly not                    in


  substantial compliance with governmental regulations.

          32.     Lindsay has failed to produce documentation demonstrating a thorough

  analysis in evaluating each of these many different design modifications that the X-Lite

  went through, or an evaluation about whether each 'new' version of the X-Lite should be

  evaluated under prior tests that were never run on the 'new' subsequent designs.

          33.     Even   to this date,     evidence has established that Lindsay has no

  documents that definitively identify each and every design change that the X-Lite went

  through during this rushed 5 week final development process'

          34.     Lindsay's conscious and reckless failure to exercise due care is even

  more exacerbated given the fact that the scale of failures of the X-Lite in between each

  passing test were of a catastrophic magnitude.

          35.     Lindsay clearly would have been conscious of the probability of resulting

  injury given the fact that its product was not properly or thoroughly tested or evaluated,

  and that it was frequently failing its certification tests in terrifying fashion.

          30.     Moreover, Lindsay misrepresented all of these varied design changes to

  the federal government when it described them as "minor changes" in its submittal letter.

          37.     Evidence has established that the changes were in fact "significant and

  material" despite what was actually represented            in Lindsay's submittal letter to       the

  federal government.

          38.     This is in addition to the variety of design changes that Lindsay failed to

  identify in its submission letter. For example, from test "XTL04" to "XTL09", the location
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 of the bolt for Post 3 was moved from the fonruard hole to the rear slot but was not

 disclosed. Additionally, from "XTL04" to "XTL12" it was claimed that shear bolts were

 added      at Posts 5 and 7; however, shear bolts were also added at Post                9.   These

 demonstrate a failure by Lindsay to be in substantial compliance with federal regulations.

            39,   Evidence has also established that Lindsay was on notice that NCHRP

  350 was an outdated standard in relation to the actual size of the American motor vehicle

 fleet; yet Lindsay developed, designed, and tested the X-Lite solely to meet the outdated

  and decades-old 350 certification criteria.

            40.   During the NCHRP 350 certification testing, the X-Lite failed eight out of

  thirteen tests. lt is clear that Lindsay was 'making it up' as they went along in order to

  tweak their product so that it could technically pass the tests, without any regard to

  developing a product that was inherently safe for the motoring public,

            41.   Despite the fact that NCHRP 350 is simply a federal funding program's

  evaluation criteria, Lindsay treated       it as a   blueprint   to   developing their product.

  Lindsay's sole objective was to get the X-Lite approved and sold, rather than properly

  developing, designing, testing, and manufacturing a safe product for motorists.

            42.   Evidence has established that the X-Lite         is only expected to         protect

  occ        ts under the exact same and limited controlled crash condition as the five 350
  passing tests. Putting a safety device on American highways with a knowingly unreliable

  basis to believe that it will save lives in crashes that deviate in even the slightest way

  from the controlled tests is a classic reckless and conscious disregard for the safety of

  others.
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         43.    Evidence has established that the MASH standard, which Lindsay chose

 not to utilize for the X-Lite, was a harder and higher standard to meet, and is preferable

 to the 350. Yet Lindsay refused to submit the X-Lite to this higher standard.

         44.    Evidence has also established that part of the reason why proper testing

 documentation was not generated was because of how quickly the rate of testing was

 being conducted. ln other words, Lindsay was in too much of a rush during its hurried

 five-week testing/development process to properly document and evaluate the X-Lite.

         45.    Lindsay's conscious failure to exercise due care in the development and

 testing of the X-Lite is further highlighted by the fact that the company that tested,

 evaluated, and judged the X-Lite, Safe Technologies, lnc. (STl), is actually a subsidiary

  of Lindsay. Moreover, the test facility manager during that time had no prior experience

 summarizing test data and putting together reports. ln fact, he had not been involved in

  making the determination of whether a test was passed prior           to having joined STl.
  Evidence has established that Lindsay relied on the inexperienced manager at STI to

  evaluate not whether a failure occurred in the system, but the reasons why that failure

  occurred.

          46.   These testing issues are in addition to the overall defectiveness of the X-

  Lite concept, the dangerousness of which a person of ordinary reason and prudence

  would have recognized as a substantial and unjustifiable risk. For example, the system

  is inherently limited in its ability to properly telescope by the number of panels that have

  sheer bolts. Once those panels are exhausted, the system is physically incapable of

  providing anymore protection to the motorist. lt is also limited in its ability to properly
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  telescope by, as Lindsay admits, the need for the real-world crash characteristics to be

  identical to the controlled crash tests in order for the X-Lite to be reliably expected to

  telescope as intended. The following is         a   non-exhaustive list of the myriad of other

  issues that exist with the X-Lite:

               a. The energy absorbing friction technology does not demonstrably               absorb

                    very much energy. The low levels of energy absorption would allow
                    telescoping of the panels     at high speeds until the vehicle reaches a
                    standard panel outside the terminal, which would likely lead to vehicle

                    penetration.

               b. High energy impacts often tend to separate the              telescoping panels,

                    leaving upstream panels exposed, again resulting in a high probability of

                    vehicle penetration.

               c.   The small impact head design allows it to easily lodge itself in the engine

                    compartment. For small angle impacts, this restriction can create a large

                    enough stress to actually separate the telescoping panels, likely leading to

                    vehicle penetration.

          47.       Additionally, Lindsay consciously and recklessly kept itself in the dark

  about the real-world performance of the X-Lite. lnstead it blindly relied on the "states" to

  update Lindsay. The evidence has established that Lindsay never made any meaningful

  effort to actually gather information, or to educate the various States' Department of

  Transportations (DOTs) or contractors about the proper method               of identifying   X-Lite

  failures in the field.
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          48.    Finally, Lindsay was on notice about the continual failures of the X-Lites in

  other accidents involving the similar penetration.

          49.    Moreover, evidence has established that Lindsay knew that installation

  defects increase the risk of spearing or penetration in accident.

         50.     Evidence has established that there was over a 90o/o installation defect

  rate throughout three different audits that were conducted on approximately 600

  randomly selected X-Lites throughout the country.

         51.     Evidence has established that Lindsay was on notice about this deadly

  epidemic and likelihood of fatal injuries resulting from X-Lite impacts.

          52.    Although Lindsay was also on notice about shockingly high and ongoing

  installation defects as demonstrated by several years' worth of correspondence, internal

  emails discussing issues with contract installers and state inspectors, and multiple failed

  audits, Lindsay made no meaningful efforts to address this rampant problem. lnstead,

  Lindsay knowingly continued its efforts to flood the market with a product with known

  installation issues   of which Lindsay was admittedly aware could lead to                deadly

  malfunctions upon impact. Evidence has established that Lindsay was on notice of this

  issue going back to at least 2014. And a 2015 email from Lindsay's Regional Manager

  and lnstallation Trainer even read: "l have not met one contractor that has initially

  installed X-Lite correct without me being there to assist." This behavior by Lindsay

  undoubtedly constitutes a conscious disregard of a substantial and unjustifiable risk.

          53.    Moreover, despite evidence establishing that the 90% installation defect

  arose from dozens of installers and DOTs who received training directly from Lindsay,
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  internal documents and testimony confirm that Lindsay never once accepted any

  responsibility for this epidemic of defectively installed X-Lites, and consistently refused to

  meaningfully alter their training practices, which constitutes         a reckless and      conscious

  failure to exercise due care given the catastrophic consequences that they admitted

  could and would arise from improperly installed X-Lites.

               54.    Evidence has established that Lindsay's representatives never received a

  remediation plan by the DOTs to address the rampant installation defects that Lindsay

  knew existed with the X-Lites following Lindsay's training, yet they continued to sell X-

  Lites.

               55.    Evidence has established that Lindsay was lying when it wrote to the

  FHWA that the X-Lite was known to have a lower rate of improper installation than its

  competitors.

               56.    There were also a variety of misrepresentations about the 350 crash test

  results in the submittal letter to the FHWA, that demonstrate a failure to be in substantial

  compliance with applicable federal regulations, including but not limited to:

                 a. The location of the bolt for post 3 being     moved from the fonruard hole to

           .          the rear slot from XLT04 to XLT09;

                 b.   The addition of shear bolts at post 9 from XLTO4 to XLT12;

                 c. The removal of shear bolts at post 9 and placement of standard guardrail
                      splice bolts from XLT12toXLT14;

                 d. The addition of two pins on the front and upper and lower supports           on the

                      back of the impact head from XLT04toXLT12;
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             e.   The addition of two pins on the front and upper and lower supports on the

                  back of the impact head from XLTO4 to XLT12;

             f.   The movement of the bolt from the leading edge of post 3 to the trailing

                  edge of post 3 in the tangent testing; and

             g.   The shear bolts at post 9 being removed and replaced with standard shear

                  bolts between XLT12 and XLT14.

         57.      Moreover, Lindsay was on notice about a variety of OSls (Other Similar

  lncidents) and concerns about the X-Lite that preceded the Plaintiff's accident. The

 Virginia DOT conducted its own testing on the X-Lite utilizing          a 5' angle, and then
  promptly notified Lindsay that it was removing the X-Lite from its QPL (Qualified Product

  List) on September 1,2016 based on the troubling results. Tennessee DOT removed it

  as well on October 25,2016. Lindsay's Regional Manager sent an email to its President

  that same day containing a page of bullet points reiterating the multitude of concerns

  surrounding the   X-Lite. lronically, Hannah Eimers was tragically killed six days later.
  Over the next eight months, nine other states would ban the X-Lite. There is no state in

  the country that permits the installation of an X-Lite on its roadways.

          58.     Although clearly on notice about the multitude of issues surrounding its

  product, Lindsay made no meaningful attempt to gather information about the X-Lite.

  Lindsay's blind reliance on state DOTs to passively pass information on was a willfully

  ignorant method that it knew or should have known would not provide fruitful results. ln

  fact, the evidence has established that Lindsay never provided any training to the

  installers or the DOTs about how to even identify whether there was a suspected failure
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 of the X-Lite in real world crashes so that they could possibly know when and what to

  report back to Lindsay.

           59.   All of the first responder testimony obtained in the various lawsuits against

  Lindsay also confirm that they never received any training regarding how to spot                a

 potential failure of the X-Lite so that it could ultimately be communicated to Lindsay,

           60.   Finally, evidence has established that Lindsay knew that the X-Lite was

  being installed on roadways with speed limits that far exceeded the 62.5 mph impacts for

 which the X-Lite's bare minimum limited certification testing was conducted. ln fact,

 evidence has established that Lindsay knew its product would be utilized on roadways

 that exceeded its tested capabilities, but they still continued to sell the product.

           61.   Thus Lindsay was on notice that the X-Lite would be used on roadways

  such as t-75. Yet it has produced no evidence of any testing conducted to demonstrate

 that it would function safely at any speed greater than 62.5 mph. ln fact, Lindsay has

  admitted as much in response to Request for Admissions'. "Lindsay admits that it has not

  conducted testing of X-LITE at impact speeds          in excess of 62.5 mph."         Lindsay's

  Corporate Representative and President confirmed that even now, over eight years since

  the 350 testing, Lindsay still has "no data to say beyond 62.5 mph how any product is

  going to be abte to perform." Yet, despite having no such data from Lindsay, its testing

  facility, any state Department of Transportation, the Federal Highway Administration, or

  even any installers, Lindsay continued to market the X-Lite all over the country, and

  internationally, knowing   it would be installed on    roadways with speed limits well          in


  excess   of 62.5 mph. This type of corporate behavior constitutes a classic reckless
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  disregard of substantial and unjustifiable risks, which constitutes a gross deviation from

  the standard of care that an ordinary person would exercise under all the circumstances.


                COUNT I - NEGLIGENCE AGAIN ST THE LINDSAY DEFENDANTS


         62.     Plaintiff hereby incorporates by reference previous paragraphs            I through
  61 as if fully set forth herein.

         63.      The Lindsay Defendants owed a duty of reasonable care in the design

  development, testing, manufacture, assembly, inspection, marketing, distribution,

  promotion, training, advertisement and sale of the Subject Guardrail so as to avoid

  exposing Plaintiff to unnecessary and unreasonable risks.

         64.     The Lindsay Defendants breached that duty in one or more of the

  following ways:

                 a. By negligently failing to use due care in the design,             development,

                     manufacture, assembly, testing, inspection, marketing, promotion,

                     training, distribution, advertising, sale, or processing of the Subject

                     Guardrail and       its   component parts,       in   order to avoid          the

                     aforementioned risks to individuals;

                 b       failin   to      uate   warn foreseeable        rchasers, installers, and

                     end users of the unreasonable dangerous and defective condition(s) of

                     the X-LITE end terminal, despite the fact that they knew or should have

                     known of the unreasonably dangerous condition(s);

                 c. By failing to disclose known problems and defects;
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              d.   By marketing the X-LITE as safe;

              e.   By failing to adequately provide proper and clear installation, repair,

                   maintenance, and/or instruction manuals, and failing              to   provide

                   adequate warnings;

              f.   By failing to comply with reasonable and necessary guidelines,
                   including those of the Department of Transportation, the Federal

                   Highway Administration, and/or the National Cooperative Highway

                   Research Program (NCHRP);

              g. By failing to design and/or        manufacture the X-LITE end terminal

                   according to the specifications and approved by the Department of

                   Transportation,   the Federal Highway Administration, and/or the
                   NCHRP;

              h. By failing to make timely corrections to the design of the Subject
                   Guardrail to correct the guardrail system;

              i.   By failing to adequately identify and mitigate the hazards associated

                   with the guardrail system in accordance with good                engineering

                   practices;

              j    By failing to adequately test the Subject Guardrail system, including

                   the head and rail system, to ensure it provided foreseeable owners and

                   passengers     of the motoring public with reasonable              safety     in

                   foreseeable impacts;


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               k. By manipulating, misrepresenting,          and/or concealing testing data

                    pertaining to the Subject Guardrail system;

               l.   By failing to disclose known problems and defects;

               m. By failing to meet or exceed internal corporate guidelines;

               n.   By failing to recall the guardrail system or, alternatively, retrofitting the

                    guardrail system to provide reasonable safety for the motoring public;

                    and

               o.   By failing to recall the X-LITE end terminal to enhance safety.

        65.     As a direct and proximate result of the Lindsay Defendants negligence,

  Hannah Eimers suffered fatal injuries and the Defendants are responsible for her death

  and damages as set forth below:

               a. Stephen Eimers, the surviving parent of Hannah Eimers,               deceased,

                    has suffered and will continue to suffer mental and physical anguish,

                    loss of society and companionship, and all other damages                   and

                    expenses allowed under Tennessee law;

               b.   Melissa Eimers, the surviving parent of Hannah Eimers, deceased, has

                    suffered and will continue to suffer mental and physical anguish, loss

                    of society and companionship, and all other damages and expenses

                    allowed under Tennessee law; and

               c. The Estate of Hannah Eimers has lost prospective net accumulations
                    and has incurred medical and funeral expenses due to the decedent's

                    injury and death.
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         WHEREFORE, Plaintiff, STEPHEN EIMERS, as the Personal Representative of

  the Estate of HANNAH EIMERS, deceased, demands judgment for                      compensatory

  damages, punitive damages, and costs against the Lindsay Defendants, and requests

  trial by jury on all issues so triable.

              COUNT II- STRICT LIABILITY AGAINST THE LINDSAY DEFENDANTS

         66.      Plaintiff hereby incorporates by reference previous paragraphs 1 through

  61 as if fully set forth herein.

         67.      This is a Count for strict liability against the Lindsay Defendants.

         68.     At all times material to this cause of action, the Lindsay Defendants were

  in the   business    of, and gained profits from, the design           development, testing,

  manufacture, assembly, inspection, marketing, distribution, promotion, advertisement,

  and/or sale of X-LITE guardrail system through the stream of commerce.

         69.     At all times material to this cause of action, the Subject Guardrail system

  was unreasonably dangerous and defective because:

             a. The Lindsay Defendants failed            to use due care in the design,
                 development, manufacture, assembly, testing, inspection, marketing,

                 promotion, distribution, advertising, sale, and/or processing of the Subject

                 Guardrail and its component parts, in order to avoid the aforementioned

                 risks to individuals;

              b. The Lindsay Defendants failed            to   adequately warn foreseeable

                 purchasers, installers, and end users of the unreasonable dangerous and


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                defective condition(s) of the X-LITE end terminal, despite the fact that they

                knew or should have known of the unreasonably dangerous condition(s);

           c. The Lindsay Defendants         failed to disclose known problems and defects;

           d.   The Lindsay Defendants marketed the X-LITE as safe;
                                                                                                        (


           e. The Lindsay        Defendants failed    to adequately provide proper and clear
                installation, maintenance, and repair instruction manuals, and failed to

                provide adequate warnings;

           f,   The Lindsay Defendants failed to comply with reasonable and necessary

                guidelines, including those of the Department of Transportation, the

                Federal Highway Administration, and the NCHRP;

           g. The Lindsay       Defendants failed to design and/or manufacture the X-LITE

                end terminal according to the specifications and approved the Department

                of    Transportation,   the Federal      Highway Administration, and/or the

                NCHRP;

           h. The Lindsay Defendants failed to make           timely corrections to the design of

                the Subject Guardrail to correct the guardrail system;

           i.   The Lindsay Defendants failed to adequately identify and mitigate the

                hazards associate with the          uardrail system   in accordance with good
                eng   ineering practices;

           j.   The Lindsay Defendants failed to adequately test the Subject Guardrail

                system, including the head and rail system               to     ensure     it   provided


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                  foreseeable owners and passengers            of the motoring public with
                  reasonable safety in foreseeable impacts;

            k. The Lindsay      Defendants manipulated, misrepresented, and/or concealed

                  testing data pertaining to the Subject Guardrail system;

             l.   The Lindsay Defendants failed to disclose known problems and defects;

             m.   The Lindsay Defendants failed to meet or exceed internal              corporate

                  guidelines;

             n. The Lindsay Defendants failed to recall the guardrail system                     of,

                  alternatively, retrofit the guardrail system to provide reasonable safety for

                  the motoring Public; and

             o. The Lindsay Defendants failed to recall the X-LITE end terminal to
                  enhance safetY.

         70.      The Lindsay Defendants designed, developed, manufactured, assembled,

  tested, inspected, marketed, promoted, distributed, advertised, sold, and/or processed

  the guardrail system and/or its component parts that is the subject of this litigation with

   unintended and unreasonably dangerous defects, which unintended and unreasonably

   dangerous defects were present in the guardrail system and/or its component parts

   when the Defendants placed the guardrail system and/or its component parts into the

   stream of commerce.

          71.     The Subject Guardrail did not undergo any material change or alteration

   from the time of sale through, up to and including, the time of the aforementioned crash'


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         72      As a direct and proximate result of the Lindsay Defendants negligence,

  Hannah Eimers suffered fatal injuries and the Defendants are responsible for her death

  and damages as set forth below:

                 a.   Stephen Eimers, the surviving parent of Hannah Eimers, deceased,

                      has suffered and will continue to suffer mental and physical anguish,

                      loss of society and companionship, and all other damages and

                      expenses allowed under Tennessee law;

                 b.   Melissa Eimers, the surviving parent of Hannah Eimers, deceased, has

                      suffered and will continue to suffer mental and physical anguish, loss

                      of society and companionship, and all other damages and expenses

                      allowed under Tennessee law; and

                 c.   The Estate of Hannah Eimers has lost prospective net accumulations

                      and has incurred medical and funeral expenses due to the decedent's

                      injury and death.

         WHEREFORE, Plaintiff, STEPHEN EIMERS, as the Personal Representative of

  the Estate of HANNAH EIMERS, deceased, demands judgment for                       compensatory

  damages, punitive damages, and costs against the Lindsay Defendants, and requests

  trial by jury on all issues so triable.


                           COUNT lll: NEGLIG         CE OF REYNOLDS

         73.     Plaintiff hereby incorporates by reference previous paragraphs 1 through

  27 as if fully set forth herein.

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         74.     Defendant Reynolds contracted with the Tennessee Department of

  Transportation ("TDOT') to complete TDOT projects of adding, installing, inspecting,

  maintaining, monitoring, repairing, replacing, and/or overseeing the Subject Guardrail

  on l-75 in McMinn County, Tennessee.

         75.     Reynolds had a duty to properly install, inspect, maintain, repair, monitor,

  and/or oversee such projects in a manner so as to protect individuals such as Hannah

  Eimers from unnecessary and unreasonable risks,

         76.     Reynolds knew or should have known by the exercise of reasonable care

  that the Guardrail was not properly installed and secured such that upon impact at

  highway speed, it would separate allowing for a failure of the Guardrail system and thus

  allow intrusion of the guardrail into the subject vehicle.

         77.     Reynolds breached its duty in one of more of the following ways:

            a.   Failing to properly install, construct, maintain, repair, monitor, and/or

                 inspect the subject Guardrail/X-LITE end terminal;

            b.   Failing to discover the hazardous and unsafe condition of the Subject

                 Guardrail/X-LITE end terminal;

            c.   Failing to correct the hazardous and unsafe condition of the Subject

                 Guardrail/X-LITE end terminal; and

            d.   Failing to ensure its agents, subcontractors, and/or employees properly

                 installed, constructed, maintained, repaired and/or inspected the Subject

                 Guardrail/X-LITE end terminal.


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         78      Reynolds's acts and/or omissions created an unreasonable risk of injuries

  to vehicle occupants and the motoring public, including Hannah Eimers.

         79.     As a direct and proximate result of Reynolds's negligence, Hannah Eimers

  suffered fatal injuries and the Defendant is responsible for her death and damages as

  set forth below:

                 a.   Stephen Eimers, the surviving parent of Hannah Eimers, deceased,

                      has suffered and will continue to suffer mental and physical anguish,

                      loss of society and companionship, and all other damages                   and

                      expenses allowed under Tennessee law;

                 b.   Melissa Eimers, the surviving parent of Hannah Eimers, deceased, has

                      suffered and will continue to suffer mental and physical anguish, loss

                      of society and companionship, and all other damages and expenses

                      allowed under Tennessee law;

                 c.   The Estate of Hannah Eimers has lost prospective net accumulations

                      and has incurred medical and funeral expenses due to the decedent's

                      injury and death.

         WHEREFORE, Plaintiff, STEPHEN EIMERS, as the Personal Representative of

  the Estate of HANNAH EIMERS, deceased, demands judgment for                       compensatory

  damages, punitive damages, and costs against the Defendant Reynolds, and requests

  trial by jury on all issues so triable.

         Respectfully submitted on June 3,2019


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                                 CERTIFICA        OF SERVICE

          I hereby certify that a true and correct copy of the foregoing     Response was
   served on counsel for the   parties listed below via electronic mail and first class mail,
   postage prepaid, unless said party is a registered CM/ECF participant who has
   consented to electronic notice, and the Notice of Electronic Filing indicates that Notice
   was electronically mailed to said party:

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